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            EXHIBIT 2
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                                                                     Revised Elfflltiolt Vcrsioa 11.20.2118

                        CONFIDENTIAL SETl'LDIENT AGRU:MENT AND
                                  RELEASE OF CLAIMS

        This Confidential Scttk:mcut AgFCL"fflCIU and Rch:asc ofClaims (lbls ".\ctcmlClll") is c:nlCred into
llll of lxcanbcr 20. 2018 (die "El'rec:tfw Date"), by antl among:


        ( l)    nit:: BMHASSV 011 nlE S'l'ATB <W QATAR, in lta capacity as the n:p,:si:atali\'C oflhc:
        State ofQatar(~) and RUJEl:ORT l'\lllUC REI.ATIONS (.,lllacPert" and togcdacr wilb
        Qatar, !he "Qatar Parties"). on the one hand: and

        (2)     JOSEPH AU.AIIAM. also sometimes known as "'Joey' ' Allabam ("Mr. A......"),
        LAUREN All..AHAM. who is IDBrried to Mr. Allaham (..Ma. Allalllua"), and LEXJNOTON
        STRATliUlli.~ lJ,C, ■ liruiwd liabilh.y c,:omp,ny wholly owned and controlled by Mr. Allaham
        ("LelilllfH," and logdhcr with Mr. Allah1Sb llbd M!I. Allaham.. the "Allalwa Puties10) , oo the
        other hand.

The Qatar Putics and Allaham Parties nrc sometum.-s rdcm:d to coUc:clivcly herein as the "PanJa:• and
any of the l1utk:s may be rcfc:md to as a '"Party."

                                                 RECITALS

         WllliRJ!AS. Mr. Allaham allcp lhat. in or ll'OUDd 20l7. llll eotacd an indcptndent Clllllrletor
relationship wilh the Qalar Plrti&:s to advance the imc:rc:su of lhe Qalm- Parties 111d of Qatar's
lnwumcntalicics. by promoting the 2022 World Cup la Qatar. fostering helter inltfflaliowil n:lation!I within
the Gull' region with lhe k:adtnlhip in the: Jewish community in the United States, and fllU\'idiDg rtal C!lta1e
investment and other public relations and messaging M:rViccs (lhe "Cou•lti. . Anupae■la,,. a_q further
defined below):

         WHEREAS. Mr. AJlaham. through his businc:ss Lexington Sth!A."gies U £. aubrnitllld a J.'ARA
registration lllat.aJWat oa June IS, 2018 alleging a n:gimablc husiaca n:la1kwllip wilh Qatar punuant IO
some ofthe wort undcl1akm pursuant to diu Consulting Arramacmalts~

         WHEIU'!.AS. Mr. AJ1aham allqes that L'tl1aui of Mr. Allaham'ucdvltics i11 furthtrancc ofQatar's
intcn:sts under lhc Consulting Amnacmcm were managed and/twr c ~ by or IJvougb 0luc,Fort;

        WHTIREAS, Mr. Allaham bas n:ccivtd ca1ain payments made by or on behalf ofRlucfort. about
which there ha., been a dispute bctwtcn the partie1 (th.: "Oispldcd Payaam");

       WI IBREAS, Mr. Allaham cooltnds that additfonal payrocnts. in lddilion to the Disputed Payments.
were due to Allaham pursuant CO the ICm\H ofllk: Comulting Ananl§tffltlllli:

        WIUOO:AS, Mr. Allaham incurred L'XJlCIISC! in his pcrformancc under the Consulting
ArrangcmcnlS ("Coatlllthla .l:spua:1"), of which nol mo,e lhan USS27tl,364. I8 and not less lhan
uss22s.ooo remainll unpaid and outstanding (such portion of the Consulting Bxpcnll(,-s as remains unpaid
as oftbc dale hereof, the "Olltlta■dia& Espcua");

        WHHR~AS. ccr1ain of Mr. Allaham's activities under the allcgl:d Con.'ll!lting Anangc:mcnllS
involved work.Ing with other conmlling finn.11 and individualll in the United Stata and thc State of Qatar,




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including Stuaington Stnw.-gics lJ.C and Nicolas 0 . Muzin (together, "Sloat-a,_"), and other Affiliated
Qa1ar Parnes (a.'i dcftncd below);

         WHEREAS, Stonington was a l:ARA-rcgistcn:d agent of the State ofQaaar from Sq,tc,.,nbcr 2017
to lune 2018;

         WHEREAS. on May 24, 2018, Bmidy Capital Management U.C and lllliott 8roidy (fl>gc1bcr.
"BCM") filed an Amcadc:d Complaint (the "Complaiat..) mBrold,y Capilal Ua,,age,,,ou UC, ~, al. v.
S1t11• of 0na'r, •t al., Ca.: No. 1lklv--02421 •J 1-'W, in the Central District of Callfumia (the "Califoraia
Acdoa");

        WIIBRHAS, the Complaiot alkgcd that n:gistcn:d and umcgist&.Tcd apls of die State of Qatar
conspiffd 10 hack the i:Jcctn>nic systems of DCM and to dis!lcminatc BCM's infomaalioo publicly, in
violadon offalcral and sbtutarutory law andC~ifomia Silk common law. Id., l>ld. 47;

        WHEREAS, no Qatar Party OI" Affilialcd Qamr Pwty has cYCr imtruckxi any Allaham Pany or, to
the best lcnowlcdgc; of any Allaham Party, any other person to back, conduct cybcnmfarc against, or
othcrwisc intrude cv infilll"ll(c HCM's dcdrooic 8)'8tcms;

         WHEREAS. no Q11ar Party or Affilian:d Qatar Party ha.11 cva instructed any Allaham ~ or, lo
the best knowledge of any Allaham Party, any udlcr person to di!l.'ICl11inlt.c, diSbibu1c, or CIU9C to be made
public 13CM's electronic ~ l W' information;

         WHEREAS. no Qallr party ur Affiliated Qatar Party~ IMr instruclcd any Allaham Party or, lo
the best knowledge uf my Allahlm Piny, any odlcr pmon to oagqc In any activities that would constitutl:
a violalion oflhc laws ofthe Unik:d Stala:s(fcderal or state), urofialmlational law,

         WHEREAS. Mr. Allaiwn lltata:s Chat no Alt.ham Party hu 1.-vcr cnpg,.:d in any hacking.
cybcrwarfarc, intrusion. inftllntion, dissemination. disaribution, or public:ation of IJCM'• clc:dlonic
systems or infmmtion, nor engaged In any olhcr of the activities described in the pricJr four rcciials
immediately above;

         WHHJlliAS, Mr. Allaham inCUl'IQl k:gaJ expense., U1d n:larcd cos&s in his capacity L'I a third-party
witnas in the California Action;

        WHEREAS, wilhout prejudice to the positioa oflhe Qmr Parties thal !hen: wen: no leptly bindins
obligations impolcd on any Qarar Party implementing lht Coosulrina Arnnaemcncs, and without pn;judicc
co the position ofMr. Allaham that a consulting agn:ancnt ~ Cbc Consulting Ananac:mc:nts Wll!I
extant bctwccn or among Mr. Allaham and cataio of the Qatar Parucs, ii is agn:ed by all Paltic:s that any
Slk:h agm:menl or oda:r hindina obliption on any of than in n:spc:ct of the Consulling Amngancnrs that
may have cxisrtd has been fully tc:nninn:d;

       WHEREAS, Qatar bu ~ously paid to Arent Fox LLl', as COUllllCI lo Mr. Allabam., the: sum of
USS400,000 (four huodn:d lhomand U.S. dollars) ia salilfaction of legal t'CC1 and expenses incurred by Mr.
Allaham in connccdM wilh the California Action and the Related Actiom (M such term i.ci dctined below)
and Arent fox LI .P has acknowlcdl!"!d rcccipt of such sum on behalf of Mr. Allaham; and

         WI IEJlliAS, lhe Plll'tii::1 wish to "-ntcr into Ibis Agn.-ancnt in full and final scllk'flX'DI ofthe disputes
hctwccn or among lhcm (and including any disputes that any Allaham Party may cuocclvably have with
any Qacar J>ar1y or any of its R e ~ Pasons) and to JltOVidi= for certain ODgoin& cova1111ts in dlclr mutual
best inren.....cs.



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        NOW, l'J IEIWFORE, in light of tlk: foregoing Recitals, and in coosidcntion of the mulUal
cownants and promis&:s in this Apmcnt, and for furtlt"'I' good and valuable consideration. including the
mutual avoidance of furthur costs. lncoavcnicncc, and uncertainties relating to the mattcn; addrcsscd herein,
the Parties agree as folk,ws.

        1.      Additiggl Qcfi■itiom. Jn addition to the tclffl!I dcfmcd above, the following additiooal
defined rerms shall have the rncanin~ set forth in lhi!I Section I.

                  (a)     "Aftlliated Qatar Pany" or "Affiliated Qatar Partia" ffiCIJlll, individually or
collectively. (i) the Rq,n."SC1111fivcs of any Qatar Party cnpecd in any mancrs relating to the (A) the
formatiOII oftbc allcFl Consulting Amulgcna:llts. (B) lhe payment of moniai purslWll lO liUth C<CISuhing
Ammgcmmts. or (C) dk: pcrfomw11;1: of scrvical thcn:undcr, and (ii) any other individual or entity acting
on hchalf of any of the: Qatar Pari~ with whom Mr. Allaham, directly or indirectly, consulted ot from
wbmn Mr. Allaham, directly or indircclly, IOOk information ar il'ISlnlctioas. or received payments,
n:imbuncmcnts, or Olba- funds or financial commilmcnts. with n:spcct to the scop:. abjl.-ctivcs or activities
relating to or pcrfunnc;d pun;uant co the alleged Conwllmg Arrangements, including SU\nington.

                 (b)     ''Affiliates" means, with n:spcct tu a Pasty, any individual or Cltpiliatioo
contmllin& conirollcd by. or under common oonll"OI with that party, when: "control" mearnc the power lo
dirtct the management and pollcK:M of an entity, din:ctly or indin:clly, whclhcr through the ownership of
vOling securitial, by contract. or othcrwiilc.

                (c)    ..Broidy Utiptioll" mean.,; the Hlisation captioned 8roidy Capital ManaxtUMIII
UC et al. v. Skll• ofQaJor, et al. (No. 2:lkv-U2421) (C.O. Cal) or any odicr action brought by Elliott
Ilmidy or Broidy Capilal Managemenl in conncctioa with allcsatiDM concaning the backing and other
alleged wnduct lo the detriment of liroidy or BCM outlined in lhc recitals hc:mo, regardless of wbcthcr
Mr. Allalwn ill named a dcfi:ndanl in sach action.

                   (d)      "Claima" means aU claims, counterclalmii, counlCNX1Un1CtClaim..~ accions. cause!ii
of action, suits, ~ j udgmcnlS. debts. cxpcrulCS (includin8 aliorncys' fa., and CO!ill). losa.
liabilitic.-s. and obligations of any kind and of whah.-vcr nature or characti:r, worldwide, regardla111 of
whedit.T ~ng in the past, prcKCRt or arising in the fullatt. wbc:t'hct currently known or 11nknown, whdhc.-r
assatcd or ~ or whether accrued, actual, contingent, !aka or otherwise, made or brought for the
purpose of rccoveriDs any daunalJ',"!I or tor die puposc of nbcaining any cquitabJc relief nr any other relief
of any kind.

                  (c)       --Cou11ltiac Arnapmeats" means (i) any agrcclllClll, ammganc:nl, contra«.1,
ohligadon, promille, Gndcrstanding or other undertaking (whcthct writltn or onl and whether cxp-ess or
implied) that i., now (or al any time prior to liffc:ctive Date was) lep]ly bind"'g between or among any
Qalar ltarty or any of its Relc:ucd l'a-sons, on the one hind, and any Allaham Party or any of Its kdcn:d
Persons. in the: odu hanc.l; and (ii) any and aJJ IICtivitica performed al any lime prior to the £ffcctjvc Dale
by an Allaham Party or any of its Relcascxl Persons in fur1hc:nnc:c of or n:laled to lhc in&m:sts of a Qa&ar
Party or ils Released Persons, whctbcr or not al the direction of Qaaar, Dlucfort, Stonington. or their
respective Rclcasl:d Persons or any other pl2'9(XI or entity. including (A) tbo!ic activities rqpllknd by Mr.
Allaham on June 1S, 2018 with the U.S. Dcpartmcn1 ofJUSficc pursuant t" JIARA, Rcgi£1ntion No. 6S63,
(B) activitia by any Allaham l'nrty performed prior to the IIDi:c:tivc Oatc with or for Stonington,
(C) activitic5 pertaining to real estate invt..1ments, and (D) al\)' other activilies n::lating lo. in furthctancc of.
or arising 0111 of the sullicct matter of the California Action or Related Actions.

                  (t)      "FARA" mean.'! the foreign Agents Regi'ltration Act of 1938, 22 U.S.C. § 611, ct
seq.




                                                                                                           \.\M
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                    (g)     ..Related Actiou'' means any and all liliprion, invc!ltigation.~, or thrcarcned
litigation <ir invc!ltigatioo, whether current or initiated al any time in the: futun.:. arising out of or in any way
pcnaining co the facts nnd allcgaticm.• in the Complaint. includins the fullc.'lwing lawsuits filed in the
Southern District of New York: Broldy Capital Mam,g,•nt LLC, el al. v. .JmtlQ/ 8MCJ,nor. Ca!IC No. 18-
cv--0661 S-C..:S (filed July 23, 2011) (the "New York Adioa"). Broldy Cqpital J.iaN«e_,,, UC, at al. 11.
Allahnm, Case No. l~-00240-KBF' (filed June 6, 2018 and lrlaSfcm:d to C.D. Cal as Cuc No. 18-mc-
0009S-Jl:W-B), and Sport Trinity UC v. Broidy Capital Mallagt!,,.,,t LLC, et al, C8!IC No. ll-ruc-00355-
GHW (filed Aug. I, 2018 and tnnsfmcd to C.O. t:.al u Case No. 18-mc-00105-JfW-E).

                  {h)     "Releued Penoas,"' means, with respect to• Party~ (i)anyand all ofsuch Pa11y's
Affiliates. and any or all of the prcdc:tcsson,. succc:s,on, diwionl, aJCs egos. and/or other related c:ntitics
oflbc foregoing. and (ii) any and all Repn:scntativcsofsucb Party. for die avoidance ofdoubt. when used
with respc:ct ro • Qatar Party, the tam "Rck:ased P(T!IOO(s)" also includes (A) the Gov1..--mmcnt of the Stale
ufQatar. an minildrics and olhcr orpns of the Stace ofQalar, any KUhdivtslm.. or imtrumentalldes thereof.
including d<:par1rm:nts, boards. buR:aus, commissk,ns. &gmelCS. cmbaMIC5, «ut.•, adminisrratioos aoo
panels. IUld any divi!lion!I or subdivisions thereof, whctbi."r pamancnt or ad hoc and whether now or
previously constituted or CJU!ltin& and any of i1s or lhclr respective cuncnt or former Representatives; (8)
any and all parties named as l)cfcndants by Plaintiffs Hlllott Hroldy and 8roidy Capital Management IJ..C
in the: Calitbmia Action 11nd in the New York Action; (C) the individual!! and t."lltities identified as Does I-
 IO io the Complaint; and (D) each and aU other AffiUau:d Qatar ltartic!l.

                (i)      ..Repft9altative" means. with n:spoct ro a particular fl'.,'111011 cw entity. any p&U or
cum:nl dirccfor, offica-, managa. shan:boldcr. manbcr, employee. insurer, rcinlurcr, ~ '10fllllllamt.
accountant, financial advillOr'. lcpl COWJ!ICI or odlcr rqircllCdtalivc of lhat ~ or entity. 11(11' 1hu
avoidance of doubt. when u.'ICd with ~ lo a Qatar P,rty, Che tum ..Repn:.,autiw.. also inckxb any
past or cWTCdl mioiltcr, diplomat, ambassador, offacial, joihl vcnllftl' or other individual !ICl'Ving in any
official leadership. miploymc:nt. consulting or advisory capacity f,v the Stale of Qatar or any subdivixion
or im.'D'Umentality thereof.

                 (j)       ..S■pportill& 0oe. .,e■ts" means malerials undetlyillg or relating tu Mr.
Allaham's clai~ Consulting Expcnsc..-s and Outstanding J1..xpcn111,,s, including but not limiWd to
descriptions of legal fcc.,i, but nut including any affidavif(s) by Mr. Allabam n:ganllng his n:ladonsbip with
the Qatar Parties. Supporting l>ocumcals arc alt ..Attorney's Jfycs Only., and are retained by ~ I for
the Allaham Parties and the Qatar Parti.:s.

         2.      No Ad9ippio■ o( Liability. The Partic:s cnccr this Agrccmc:nt in campn,a,isc. settlement
and n:lcasc of disputed claims and cont.entiom. This A ~ t idlall not he conmucd in any way as an
admi.uioo of any kind on lbc part of any Party regarding the DWter.l that were in dispute. No pa or pn:,icnt
alk.-gal or adUlll liability or wm,gdoing on the part of any Pat)' may he implied by the Partit.-s' cntcrillg
this Agn:a■c:nl or by dw payment of any amount spccific:d hc:n:io. Any and all such admissions of liability
or wrongdoing arc cxpr,:55ty ck:iticd by all Parties to this Agn:cmcnt.

         3.
                 (a)      BYISiP!i Granted by the Alllbern Parties. &ch Allaham Party, on behalf of
himsclt7hcniclf/imdfand each ofhis/her/its Affiliak.11 mid any person or entity claiming hy or lbrough them
(collcclivcly, the 04AIJallam Relusias Parties"), bcn.-by dischargc:s and rclcu,-s, WJCOnditionally.
absolutely and fon.-vcr, each Qalllr Party and each of its Rc:h:ascd Persons from (i) any 111d all Claims that
any Allaham Rclea.11ing Party or any of them ever had, nnw has or hc:realli:r can. shall or may have for. upon
or by reason ofany matter, cvc:nt, cause or thing whatsoever trom the beginning of the world to the Effective
Date. including dwc.: Claims lhat arise out of or n:lalt in any w.y to (A) chc Consulting Arrangements or


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any activities pwponing to be taJcen in funhcnmcc of the Consulting Arrangements or otherwise ,111 behalf
of any Qalar Party or any of iis Released Per.ions in respect of lhc subject matter of the ConsultiJlg
Arrangcmcots; or (B) the California Action or any Rclared Actiom; and (ii) 111y olhcr Claim, whether
IISlK.Tfcd by or tbrougb an Allalwn Rclcai1ing Party or a third party. oonccming the Comulting
Ammscmmts or any activicics purportin8 to be taken in fiathcnmcc of the Consulting Anangi;ITICflb or
otherwise on behalfofany Qatar Party or any or its Rcleal-d Pasons in n:sp,cl oflhc subject matter of the
Consulting Arrangements; provided however that nodtfng ln lhis ~ J(a) shall operate to rclcuc or
discharge any Claim for breach of this Agroemcnr or any claim for repayment arising pursuaD( to Section
8Cc).

                   (b)     Release Gnntcd by the ()pr Parties. Each Qmr Party. on behalfof itselfand any
person or entity claiming by or through it (collcctm:ly. the "Qatar Rzleai:aa Parties"), hmby dilcbargi:s
and rclcascs, unconditionally, libsolub:ly and furcvcr. each Allaham Party &um (i) any and all Claims that
uny Qatar Relc:aing Party or any of thc:m ever had. now has or ht'l'\:&ftcr can. &hall or may have for, upon
nr by reasoo ofany matter, event. cause or lbing wbatsoc:vcr from the beginning ofthe world to the Effective
Date, including lho!II: Claim." that arise out of or relarc in any way IO (A) the COMUlling Aff'III.PICIIL<e or
any Ktivltic::s pllTJIMing IO be llla:o in furtbcrancc of the Comultin,g Amngc:mcnt11 or otherwise m bdlalf
of any Qatar Party ut any of its Rclc:ucd l\:niomi in R:.'lp(:IUt of thc subject maucr of the Consulting
Ammgcmc..'111!.; or (13) the c.Iifomia Action ~ any Rc1m:d Actions; and (ii) 1111y other Claim, whedk:r
asscro:d by or through a Qatar Releasing Party or I lhird party, concerning the Consulting Arrangcmait, or
any activities purpor1ing tn be tucn in furtbmncc ofthe Coosultill8 Amulgemenb or othcrwi.~ on behalf
of any Qalm' hrty or any of its Rclcucd Pcnoas in raip:ct uf the ! U ~ matter of the Coosulting
I \ ~ ~ provided hoW\.-vcr thal noehing in this Section 3(b) shall opc:nb: lo releuc or di5Cbatgc any
Claim for IRacb of this Agrccmcat or any claim for n:imhunlcmc.:nl arising pw'lNllllt to Section H(a).

        4.       Upkp9Q     Q•n• 114 Califtoit CiyQ Codt Smh• 1542.
                  (a)      Each Pllt)' undcrmnds and lk.-rcby exf'l"CS-"ly ind voluntarily waives and
relinquishes any rights and/or bcncfib it now has or may have in the future under Sccllon IS42 c1f Che
California Civil Code. or any olbcr similar dalUlt., ruJc or commoo law ixovision of any ft<knl. stacc: or
fun.-ign jurisdiction. California Civil Code Section I542 n:llds as follows:

                 SEt:'llON 1542. A GENf:RAJ. RF..LfiASE 001:S NOT EXT..:ND TO CLAIMS
                 WHICH THE CRl!DrJOR DOES NOT KNOW OR SI ISPF.C:T TO F.XIST IN HIS
                 OR IU~R FAVOR AT lllE 'llME OF EXl~ClmNG Tl ffi RHU!ASE, WHICIJ JF
                 KNOWN DY HIM OR HER MUSTllAVE MATV.RJALLV Af'PUCllm 111S OR
                 ID:R SEnl.FMENT WITH '11 IE DEHTOR.

                 (b)     Without limitation oflhc fm'cgoina. e.ch Party acknowledges that il may not now
know fully rbc number or the mapitudc ofthe: Claims it may haw against lhc Party a.ad each ofits Rclcucd
Pc:rsom and Iba& it may suffer some fts1her loss or danagc in some way COftbCCtCd with (i) the Comulting
Arrangcmcms; ur (ii) the California Action or any Rclatal Action.41, hul which is unknown or unanticipated
ar lhis time. Each Party has taken the...: rillks and pomoilities into account and accept'! that. ncvertbelcm,
the !ICUlcrncnt concaincd in chis ,\gn:lcmtnl covers Claim, thol although unknown al the time of the
execution of this Agn:cmcnt. may be d.iscovcn.-d later.

               (c)     Each l.tarty acknowledges the significance and comcqucnce of the waivers and
aclmowlcdac:ments in this Section, and had,y assumes R:Sp005ibility ~for. and fwther aclcnowlcdgcs
that the waiver and acknowledgements in this Section '4 an: an c!ISClltial and material term of this
Agrccmcnt.




                                                   l'agc 5
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         5.      Copidcntiotl.
                  (a)     In consideration of 11": r e ~ and covcnaats granta:d in this Agn:cmcnt. and
without admission of liability or wrongdoing by the Qatar Parties, Qatar or illl dcsigncc: shall pay co Mr.
Allabam (and hcrchy ~ a.'I indicabi in the l 1aymcnt Schedule altochtd hcrct() that Mr. Allaham may
retain) the amounts provided in 11UCh Paymcnl Schedule (coUcclivcly, such new paymc:nlll and agreed
rch.-ntion. the "Settlemut Amott•t"). Mr. Allaham agrees., in consideration of !NCh payments, n:u:ntion
rights and tbc olhc:r COV\.'Dants set forth hcreill, to •tisfy. within (30) days following the exccutioo hcreof
                                                                                                             v, 9rJ)
all Outstanding lbcpcnsts. and tbc Parties hm:by acknowlc:dgc U- Mr. Allaham may llCltlc some of such             ..:)
Ourstandiag Hxpen!ICS fur bs dlan dlcir face amount, but not for less than an aggregate ofUS$225,000.
The initial installment of lhe Scttlcmcnt Amount shall be paid by win: transfer not later than January
2019. subject to the prior ddM:ry to COUnlCI for the Qatar Parties of any tax forms rc:quin:d for die           ·
                                                                                                                      ff
proccs.'ling of paymcnL The paymeoLi. of amounts due in respect of the Settlement Amounl shall be sent
by wire tnmfa co lbc account sct forth below:

                 Lexington Strah:gi~ LLC
                 Swift # fur USS WFlllUS6S
                 Swift# for foreign S WHUJJUS6WJ/l-'X
                 Addras:
                 Wells Fargo Dank NA
                 420 MOlllgOIDery Strec1
                 San Fnmci!ICO, CA 94104
                 Act# 2142901665
                 Rout # 0212000'.?~

                 (b)    l;xpc:n.,cs. Each Party shall be solely responsible fur paying its atton-.~• fees and
costs. including my fees wl COSlli incurred by any of them in lhe nqotiation. prq,arali<m ud execution 'lf
this Agm;mcnL The Qaau- Panics sbaU have no responsibility or liability ior lhc diltnluion of the
Settlement Amount among the Allalwn Parties and hislhtrfit1 attorneys. or with rcspc:cl ro any person or
entity claiming any put of such Scillcmait Amount, and the AIJabam Parties shall indemnify, defend and
hold the Qatar Parti~ hannleii.s fium any Claim from any persun or entity pmpot1ing to have u ~ in
the Settlement Amount.

                (c)       Amgupts fmyigwdy hjd. The Allaham f>llrtit!( (i) acknnwl~ge ~ipl of lhc
amounCs idoltifil:d as ..Previoiwy paid" In the Paymcat Schedule IIIIChc:d hereto, and (ii) agree that the
rclcac of Claim11 by the Qatar Pu1iea for refunds of thmc unounts and fut any other l>ispulcd Payment is
part oflhe consideration tor the rclc89c.'I and oehcrobligaliOM of the Allaham Parties 11'1 forth hacin.

               (d)     ~ The Allaham Parties shall be solely responsible for any 1Pe8 det.c:nnined
kl be due aod owing by him/her/it lo any ftdc:ral, state, local, or rqponal taxing authority as a n:sull oflhc
Settlc:mcnt AmounL

        6.       Me1DK!tltio■ yc1 wtm•Sk?
                   (a)     Wamotics of the AUaham Parucs. J:ach ofthi: Allaham ~ hereby ~ b J
and warrants to &:aeh Qatar Par1y as folloM and acknow~ 8IM.I ag,t"'1I that the Qatar Partites ha~ been
induced lO enccr into Ibis Agrccmcnt In reliance: on lbe n.-prcs&:nratiohs and wam.nties !Id for1h in thill
Agn:cma,t: (i) this Agn:cmcnt is hislhcrlits valid, lcpl and binding obligation. cnfora:ablc aaaimt
him/her/it in accordance wilh its terms and it/hc/sbc has the full right. power and authority to cnler into and
perform his/her/its obligations under lhis Apcmcnt; (ii) lhe cx«ution. dclivL-ry and performance hy
him/hc:rlit of this Agrcc:mc:at docs not conflict wilh, or n:sull in a b,Qi;h ot: any agtt:eme:nt. writtaa or oraJ,


                                                     Pagc6
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to which hc/shcfrt is a party or by which hc/shr.Jit or hislhcriib properties arc bound; (iii) he/she/it has the
right to arantlhc n : ~ and covenants sct fOl1b herein oa behalfoftho Allaham Rcbsing Panics; (iv) the
stat.cmcnt~ in lhc Recitals arc IJUc, ctm:ct and comr,ldc; (v) hc/shdlr has OOl sold, MSigncd. pledged, or
otbetw~ trwlSfcm:d or encumbc:n:d any Claim relcticd in Section l(a); (vi) Consulting Expcmca. in 111
agrcgaJr; amoum of US$617,057, ha'1c been ICbJally incurred and paid by Mr. Allaham in each c:asc in
furthcrance of lhc Consultins Anaagemcnts; (vii) additiooal Consulting ~ in the form of the
OulSbmding Expcmcs, bav.: been actually incwml by Mr. AJlaham and remain ootstaadina (in ilc llll10Ul!b
set forth in the recitals hcrdo), in e11eb cue in funhcrancc of the Coosultillg Arrmlgcrncnb; (viii) such
Outstanding 8,cpi."IIICSarc not suljl.--ct to any claim forrcimburscmiJat(X"to paymaitby anyddnl party, and
(ix) Mr. Allabam hu incumd no cxpcmcs other than lhc ~ futpc:mcs for which any ofthe Qa1ar
Patti&,-, remains liable.

                 (b)      Warqgtjcs ofcbc Qatar Parties. f~ of the Qatar Parties hereby reprac:nts wd
warrants to each Allaham Party as follow1i ad acknowk:dgcs and ~ dull the A1labam Parties have been
induced lo cnll:r into Chis Agn:ement in reliantc Oil the repn:iltlltlltionll and wmantics SCl for1b in this
Agra:meot. (i) rhis Agra:mcnt is ih valid, lesal and binding obliption, cnfon::c:abk: against it in accardanoc
with its rama 111d it bas the fiall right, power al ...._lrity to enter into ud perform its ohliptionll under
this Agreement; (ii) lhc .:xccution, delivery uui pcrfunnancc by it ofthis Agrecmc:nt docii not coatlk.-t with.
or n:sull in a bn:ach o~ any agn:emcat, wriat:n or uni, to which it is a pany or by which it or its propmics
arc bound; (iii) it has the rigbt to grant the rcbles and CffllCDIIIIS ICt forth bcn:in on behalf of the Qam
l>artillS: (iv) th&: statcmcnlll in the R-"Citals arc 1Nc, com:d and complete; and (Y) it ha DOC sold, asslp:d
pledged. or ochcrwi"" lrllt.'lfarcd or CIICumhl:n::d aa,y Claim rclcwd in Seciion J(b).

        7.       0trnen111, or Rm,rds •Psi Coaffflntillity.
                (a)       Within k.-n (10) bu!iUICS!I days following the Effective llate. Mr. Allaham shall.
through llis counsel. make availahlc: to Qaw for i'5 review all records, non:s, data. memoranda, models.
and equipment of any DIIIUn:. and copies lhcn:of, thal uc in Mr. Allaham's ~ or under Mr.
Allaham's concrol and that rd.ac to the Cmsulting Amnec,ncnts or omc:rwi9c to the business or affairs of
a Qaw Party or it., Rclc:a.,Qd Pcnons. The Plr1o mutually agn;c und acknowledge thal all sUl:b n:Cwncd
records arc and al all times in the past have been the property of Qatar, and arc not and hav.: never been the
property ofany Allaham Party.

                 (b)     The: lam "Ccmtldatial Woraatioa" mcmL<t (i) tcnM of this Aa,ctmcot.
including the fact of payment and the amounts lo bc paid hcrcundcr; (ii) the allqcd liCl'1m of the Consulting
~ t l l and all wtwk product clcvclopcd by or for an Allaham Party punuant to such Consulting
Arrangancnts; (iii) all C0ITC!lpMClc:nc infmnation and matcrial5. includins au ncgotiatioos and
discussions relating lhcr-eto. (wbcthcr or DOC specifically marllcd or designated m ""c.-oafidcalialj relating
to (A) this Agreement and (8) lhc CODlllllling Amuascmcnts. (C) the activilies taken in furtbcnocc of the
Consulting AJrmaanc:ats. and (D) lbe hnsincfl and affair8 of the Qatar I,.,._ and their Rck:a:d Pcnrm;
(iv) eo11cspoodc:ncc and consuhltiom bctwccn or among die r.tic:s and any R.cJcucd Persons conccming
the Consulting Arrangements. the Complaint. lhc: California Ac.iions. the R.elak:d Actions, and any rctaacd
claim.,;.

                    (c)      The Allaham Parties shall m.1> the Confidential lnfurmatioo strictly oonfidcntial
and no Allablm Party shall now or bcn:afb:r di»closc such Cootidcolial Information to any third party
except. (i) with the prior wriacn consait or Qam or u may be n:quin:d by an Allaham Party ro enfora: lhc
terms of lhi!l Agn:cmi:nt; (ii) as may be required by applicable law. n:gulatioo OJ' order of a govcramcntal
authority of competent juri."11ctioa pursuant co advice of n:putahk Olllllidc coumcJ when: such advice
relates to compliance with applicable laws or n:guiations, and in Che event of a party's reliance: on this
clause (ii) tllat the; disclosing party llhall have provided to the other party n:uonablc advance ooticc of such


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required discloaurc (to the ~"SI extent pcrmitrcd by law) and an opportunity lo (A)~ lo such
disclusun: and (B) UI n.'"Vicw the tams of such di!JCburc and to make edit& thc:lci<> consistent with the
rcquin:mc:nm of the laws or regulations: requiring lluch disc1osun:; (iii) during the cocne of litigation so
long u the di,;clollUrt orsuch Confidential lnfonnation is subject co the most highly confidential rc!llric1ions
available co the litigatinj! parties. such restrictions an: cm~icd in a court-entt:rcd ..\ltu:ti~u tll'dl:r (ur
equivalent) limiting such ditclosun: lo oul!ide COllMCI fur lhc apf'licablc Atlabam Party and such Allaham
Party provide!I Qatar writtai notice at k:ast ten ( I0) business da}'j prior to such disclosure and Qatar- doa
not formally object to such disclosure in a pleading filed with a cowt or admiaistralivc agtney during lha1
tea (IO) bu.sines.• day period; and (iv) in coofickncc to the proteaional lcpl coumd rq,n:scnting such
AllahamParty.

                  (d)      Hach Allaham Party acbowlcdp and agrees that the rcstric:ti<m act furth in lhis
Section 7 ~ n:uonablc and OIXlCSSIUy to prot&:ct die lcgilimale i n ~ of the Qatar- Parties and that the
Qatar Parnes would aot have t:nll:rod into this Agnxmcnt in the abtrJJcc of such restricoons. and lhat •Y
breach or thratcncd breach of any provision oflhis l;c:ction 7 will raull in irreparable injury to the Qatar
Parties for which tbctc will be no adequate l'Cffl(,.-dy at law. In the cvcot of a breach or thrcarcncd bmach of
any provwionoftbis Section 7 by an Allalwn Party, the Qatar Parties(areilhcroft.bcm)shall be authori2Jtd
and Glllitlcd co obcain fiun any cowt of compctcnl jurisdidioll equitable n:lief, whclher r,n:liminary or
pcnnanllrlt, specific: pcrfonnam:c:, which rigbb shall be cum11lativc and in addilioa to •Y othtr rigtas or
rcmalicll to whicll a Qar Party may be entitled in law or equity. liach Atlaham Party awcai to wai-n: any
n:quirancnt that a Qalllr Pa1y (i) post a bond ar other security as a condition for obtaining any such rdlcf
and (ii) show inq,iarable harm. belaodng uf harms. oonsiclcralion of the public: intc:resl or inadequacy of
mondaly damages as a remedy. NoeltqJ in lhis Section 7 is inrcndcd. or sball be construed, rn limit a Qatar
Party's rights to ~!able relief or any odlcr n:mc:dy (or a M:Kh of any provision of this Aan:cmenL

        8.       Bcfmb■tBWR&oCCcrtait YUutie, laPCWI
                  (a)       ()aw- agn:ca that if Mr. Allaham iacors. al aay lime: afk:r lbc Effective Date. any
additional atlllmcy9• fees or cxpcmcs (over and above the cxpcn.'ICS reimbuncd prcvioally by Qatar as
dl:.scribcd in tbc Rccilalli aboYc) as a party lo or as a witness <r other particiJ:ut in any Rroidy Litigation,
then Qatar shall. su~ Ill lhc provisions ofScctian.oc ll(b), 8(c) and ll(d) below. rcimhur5': Mr. Allaham In
full for all llUCh edditiooal auomcys' fet:t or txpc:nSICK accually and rca.'IOllahly incum:d by Mr. Allabam
(such amoaats. the "Reiahll..we Aaoai"}.

                 (b)      The: obligations of Qatar ia Section l(a) arc cxprasly conditioned on the
conlinuina compliance by die Allaham Parties with lhcir obligauons in Ibis Agn::,emcnt and arc IIUbjcct to
any limitations aa &be rcimbuncmc:nt of cxpwa fur w.ues in applicabh. law. Paymc:nt.11 by Qatar under
Section l(a) arc Jimiced to the amounl of any aUnrDC)'!I' fi:es or cxpemes that n:main after deducting
therefrom any insunnc:c proceeds ldllllly rcc:civcd by Mr. Allaham in rcspa:t of any such atuirneys. fees
or c:xpcmcs. Mr. Allaham lgrtc.'I lo diligently pursue ay instnnce providers for my Rcimbursablc
Amomts and enJorcc any right lhat he or an Allaham Party may have ro receive insurance ~ from
any insurance provida. Mr. Allaharn shall noc ada into any scttlcmcnt or otbc:r agn:ancnt many Bmidy
Litiptioa that would obliph: him to pay or incur any Reimbursable Amount without first obtainina Qatar'!i
prior written cooscnt

                {c)       Qatar agrees lo pay aU Reimbursable Amowll'I on a quartc:rly bll.'lis subjt:ct to
n:ccipt by Qatar of(I) a written request for rcimhtn:mmt slped by Mr. Allaham and his litigation .:ounscl;
and (ii) inwices and such Olha mpportina documcntalion and taxpayer funns u may he: n:asonably
required by Qatar in Mier to process payment; provided, however. that Mr. Allaham agrees to rq,oy to
Qatar any amounl5 so advanced only if, and to the: cxk:nt tbal. it shall ultimately be dc:tcnnincd by a court
of compctcnt jurisdidioa <V' an mbitr.11 rnoon.t lhal Mr. Allaham ill not «:ntilled to be n:imbuncd by Qarar


                                                    l'agc II
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u authoriz.cd by du.~ Agn:cmcnl due to (i) fhwdulcnt. nx:Jdcs.• ot willful misoonduct, ur (ii) \lOl1duct outside
the scope of the allcgcd Conwlting Ananl!/ICfflCl1ts. Mr. Allaham ackaowlcdgcs and agm:s that the
rcimburS4:mcnt obligations ofQatar in thi.'I &.-ction ado ool include fix!! or cxpcmcs iDam:d io cooncclion
wilh any investigations ur JrOCCCCfings, actual or chrean:ncd, rclating lO rcgularnry. aiminal, benkruj1cy or
govcmmc:nial pmccc:dings in die U.S. or cl111,-wbcre, uichldh1H llfl)' &:ooa:rning lhc.: r-ymc:nt OI' non-payment
of taxes, lobbying n:gi.~ or di9Clnsurc wstufe!I (including fARA or the Lobbying lmclosun: Act).
busincs.'I licenses, or any proceeding bcfon; any legislative body. If Mr. Allaham fails IO make a ~ucst
for rcimburscmcnl of a Reimbursable Amount within ninety (90) clays of till: date tbal socb amount was
inclS'l'Cd. his right lO rcimhuracmcnt under thia Section 8 shall be dccmcd to be waived.

                 (d)      Nocwithsaanding anything d!'IC in this Agreement to the contnry, the agn:gaW
liability of Qatar to Mr. Allahlm for any and all Claims for R&:imbunablc Amountll shall not cxa:cd. In d1C
aggttptc, USSl ,000,000. excluding. for purpoMlS ofthis Sc:ctioa l(d) oaJy, Che US$400,000 that Qatar ha11
pn.-viously paid to Amil Fox Llr, as COlln!ttl to Mr. Allaham.

                 (e)     Qatar and Mr. Allabam each agn:c tbal (i} Qara,'s n:imbuncmcnt of ~pcnscs
im.:um:d prior to lbc Bffc:ctJvc Dale as dcicribcd in the lwcilals Md in Section l(d) does 00( cntldc Mr.
AlJaham to n:iJnburscmcnt of Ill)' odu:r llbOUDI; and (ii) if Qatar ad\'MC09 any Reimbursable Amount L'I
described in this Section 8, that rcfmbtll'!ICl'Aellt shall not commit Qatar to pay any OCbcr IIIIOQnt. lnsu:ad.
notwithslanding any other provision set forth hcrc:in. bolh Qatar and Mr. AUaham cxpressJy rcscrvc all
right.. in coancctioo widl any &cure reimburtemcnt and no rcimbuntmcOl shall be dccmcd co be an
acknowledgement by Qam or aqy ocher Qa1ar Party or its Rclcucd Persons 1ha1 any further or fuiun:
payment is due to Mr. AJlabam, by cm.nc of conduct or othawi~.

                 (t)     Mr. Allahara agrceA. within IS days following the c:xc:cution ofthi!I AF,tmCnt, to
provid&: ro Qarar dc&aik:d invoices and supporting docmncntation and such othi!r documcncatlon as Qatar
may n:uonably require in onlcr to n:concilc the USS400,000 amount previously advanced by Qttar as a
goodwill sa:mire lo Mr. Allaham in rcsp.'Ct of hui h..'gal fees and expc:n!ICS inam:d .in n:spcct of the Broidy
Liligalioa to date.

          9.      COODQJtio■. Each Allaham Party agnxs that hc/shc/il will coopcrare with each of the
Qauu- Partfos. and each and all of the individuals and Ctltitics cb:ribcd in clauRCS (ll) and ({,j of the
dcflllilion of the term Released Parties (collectively with the Qa1m' Parties, the "Qatar Udptio•
lateneled l'arties") ll> lhc arcnt permitted by law in &be California Action or in any Relat.ud Actions. A:;
used bcrcln, the Imm ..coopcnk" includc:a: (a) makina himsclfJbersclfflllClf immcdialcly a,,ailablc fur
lclq>hoaic and in-p:noa mcclinp with coumcl and ~ fur the Qablr I Jtip(i011 I n ~
Parties; (b) providing ftall and truthful information, including any and all documcnt'I, to the (Jldar I.itigation
lntcrc:sfed Parties relating lo hl!i/hcr/its fac1uaJ lcnowblgc of the allegations in the Complaint or of the
allegations in any of the Rclafl:d Actiom; (c) not communicating with individuals and entities known to be
advcnll: 10 the Qat.- l.itigatim Intmt,tcd ~ in pending or ancicipatcd litigation (including but noc.
limib:d lo Elliott Bmidy and Broidy Capital Maluw:mcnt). cxcq,t lo lhc CJtlent rcquiml by law:
{d) cxccutiog and deli~ lholle docWIIClllll and truthful affidavits RIQ~ from lime to time b)' com,s:I
to the Qmr l..itiption lnla'c5ted Parties; and Cc) with respect lo Mr. Allahsm: (I) "1CCCUling 11 :o1wam
affidavil(s) truddblly n:wunting lhl: lilclll uf Mr. Allalwn'!l relatJonshlp with the Qatar I.itigatioa I n ~
Panics oo m pricw to the.: date on which lhc Initial Sculancnt Payment is made as provided hc:n:\&IMk:r (and
the Parties lacrcby agree that the CllCCutioa tlf such affidavit in a form mutually aer'CCd between Qagr- and
Mr. Allahain shall bi: a condition prcx:ccknt to such Initial ScUlcmcal Payment); (ii} upon the n:qucst of
couosd lo Q,!ar, executing IIUCh further sworn affidavits u ooumct to the Qatar- I.itigation lntcrc:s&cd Particll
may n:asonably request from time to tink: t1'11lhfully n:counrillg such odlCI" related facts as may be
reasonably n:quin:d by the Qoar Litigation lnt&:restcd PartlCli from time to time hereafter; and (iii) otherwise



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making hi111sclf available fur depodlion and trial te!,1jmony upon instruction of cowascl for the Qatar
Litigation ~'1'\.-s&cd Parties.

        JO.     Nt Agbeagq to Adymc Pu1ies. Each Allwm Party agn:cs that he/shcllt will 001.
cxccpc as required by appllcablc law, volun!Sily assllll, supp0ft. or coopcnac with, dtrcctly or illcllrccdy,
any pc:nlOII or l'Otity in alleging or pursuing a kpl or oChcr .m:nc ac:tion against Qatar or its Kclcascd
P\.'l'SODS or cater into any • ~ t with any third per1)' to llO c:ooperakl in any k.-gal or oChc:r advmc action
against Qmr or its Rdcascd Persons, including by providing latimmy, infonnatioo or documcn1I, e:xccpt
under compulsion of law, in which cue lhe applicable Allabam Party will siw Qatar and the applicable
Released Pany(ics) immediate written DOlicc thereof. No AJlaham l'arty will suggest, foment, fund or
cm:owagc litigation or other advcnc action agaiDSI a Qallr Party or any of its Released l'fflons. Nothing
in this Agreement ii intended to or shall prohibit an Allaham Party from satisfying aay lcpl obllptioa to
comply with • propcrly-1,'CJVcd subpoena for lclltimony or ~ and is not iarcndcd to prohibit an
Allaham Party finm coopcnding wilh Ill)' invtstiption by •Y fcdc:ral, scatc: or local pc:rnmcnt agcacy.

         11.     Npt:Comw pd N91:WIPuJnec,t.
                    (a)      In con,idcration of the paymc:ntaofthc ScUlcmcnt Amount and othc:r coosidcntioo
dcscribcd bcrein. for a period beginning un di&: Hffi.,:tive Dau, ad aiding on 31 Dc:ccmber 2022 ( which lhe
Putic:s acknowlcdae to he a period of reasonable d\lrl&ion giw:a the nawn: and purpme of the Ccnulring
Ammgemcnts). neither lhc Allaham l1artics, oor any Affiliau: of m Alllham Party (now cxisling or
hcn:aftcr imnc:d or m:quiral). shall, directly or indirectly: (i) take any action thar is advcrlc to lhe inrercst!
of the Slate of Qmr; (ii) c:nrcr Int> any agra:mcn1. or accept peymcnt or other' COfflllCl'llllion t> provide
lnhhying, puhlic aff'airR cffilrf", or any other advi,wwy CW' ettmulti"8 ~ or .tetivitieli if any (if thO!c
cffort.'1. services or activities an:. or could rca!IOllllbty be deemed to he, advme to the interests of the Stale
of Qatar; or (iii) make any disparaging utcmcnts or n.-pn:scntatioas. whctbct onJly or in writiag. by word
or gcsrurc, fO any person or cntily whalsocvcr, about any Qaiar Party or iLII Rclcucd 1-cmou.

                 (b)        for purposes of Ibis Agra:ment. (i) the phr8IC ..ldvcnlc 10 the ina:rc:.Goftlkl Slate
of Qatar"' n.-fcn to die dipbnatic:, ccoaomic and IJCCUrity inlen:sb of lhc S.. of Qalar u such intcrcsts
exist as oflhe Hffi::ctivc llah: or u they may exist al any other relevant lime. and (ii)a diilpatwging atatcmcnt
o r ~ is any communication which is inll:ntJcd 1o cause. or k:nd.'i to cause. the recipk:nt ofthc:
communicatioa 1o quc:stkln the intqriey, IXW1lpdl:Doc, 8l>Od chuacCl:r or q111lity of the Qatar Party or the
Qatar Released Person to whom the c:oaununicadon relates.

                 (c)      Without limitation oft.he foregoing. it is spocillcally acknowlc:dBC(I and 118ft:Cd Chat
(i) any cfb1s, ICMQ:A or activities for or in cmncction with (A) l!lliott llroidy, Hroidy Capital
Managcmcnt (r any Affiliate of cicbcr of them, (D) plans t o ~ or rcloaitc the 2022 World Cup from
Qatar, and (C') in support of any boycon of the Stak of Qaoir, ll'C in each case, adv\.ne to the intcrcsts of
the State of Qatar. and (ii) any statcmc:nl'I (A) critical of or opposed to the bosdQB of2022 World Cup by
Qatar or the award co Qatar of such hosaing rights, or (D) suppmiag or c:acotngi.ag die boycott of(Jal:ar,
arc disparqing surcrnents of the l)'JJC pmhibiu:d by Section l l(aXiii).

         12.     Qiv,ts Raol■tio■.
                 (a)     Goycmjna l4w. This Agnx.tnc:DI shall be aovcmcd by and coastrucd and
interpreted in acconlaocc with, and all disputes hcrcundcr or relating bm:10, whether of a conttlCtUal or
non-conb'aetUal nalUte, shall be n:sotvtd in accordance with, the laws oflin&)and and Wales, without rcpnl
to any conflicts of laws rules that may otherwise require the appUcatiOfl of the laws of any odk:r ~ or
jurisdiction.



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                  (b)       Arbilrarion. Any dispute, whcihcr contractual or othc:rwuic. arising out af or in
CODDCCtion with dlis Agn:emmt or lhcsc dispurc resolution proccd~ including their .:xistcDcc. validity,
oppJicability. or tcrminatil-111. shall be rd'an:d to and finally n:solvcd by arbitnlion purauart to lhc London
Court oflntcmatiooal Arbitratiua Rules, admini.~ by the London Court oflntcmational Arbitration.

                  I.      The number ofarbitrators shall be thrct:.

                 2.       The k.-gal scat of the arbllratiun wU be London.

                 3.       The IIKlguagc to be: used in the arbitral proceedings llhall be English.

                 4.       The law govcming lhc validity, aistc:ncc, applicability. or tcnnination of this
                          arbitntion agrccmaat shall be lhac of England and Wales.

                 ~-       Jwpn:at upoa the award may be '-"Dla:nxl by any court bavingjurisdicdOII ot'dlc
                          award or havingjlsisdiction cmr the n:k:vant party or l15 asscu.

         13.     Gperal Tera1.

                (a)       Sc;yqabj!jty. lf any provision of Ibis Agn:ancnt is determined to ht invalid ar
uncntiwccablc. aJI otbc:r provisions bc:ruof shall remain valid and enforceable notWithmnding. unlc.:ss the
provision found m bt uncnfon.ubk is of such malcrial effect that Ibis Agn::cmc:ot crm be pc:rfonnc:d in
accordance with the inlcat of the Putics in lhe abtlcncc of !RaCb pnwisioo. In the '-"1all • provision ill
daamincd to be invalid or uncnforc:cablc, bodl parties shall ~ in good failh an equicablu adjustment
to this Agrcancnl so as to give cffcct to lbc intcot so cxpn:ncd and the bencfilS so provided in sud, invalid
or unenforceable provision.

                (b)      Wajv,:r and Amcndmc:n1. lbis Agn:,cmcnt may nuc be mudiric:d or amended, and
no provision uftbi11 Agn:cmcn1 may be wai\'l:d. except in writing '-'Xccutc:d by the Party wbo9c rights arc
being waived. No failure to exercise, or delay in the exercise of, a Party's rights under this Agrecmcot wilt
constitute a waiver of HIida rights. No waiver of• povisk111 of th.is Aa,c,emcnt will cmstitutc II waiver of
rhc wnc or any odtcr provision ofthis Agrccmait otta- than as specifically set forth in such waiver.

                (c)      l!xq.-ution. This Agn:cmcnt may be: executed i n c ~ each ofwhich (once
executed) hi an nriginal and all of which fogdhcr (once cxecukd) conslitulG one aid the sank agn.-cment.
For purpolCII orthi., Ag,mucnt, a signab&rc on a counrapa,t !IIC:nl u • l\xtable l>ooumc:nl l-'ormat (l"Df)
attachmwt co an email sba.lJ be fully binding u lhough It was an original signature.

                 (d)       Headings; Consb'uction. I ~ Pai1y &o lhis Ag,c.aneot has hccn advL'ICd and
n:pll."'t&:l'ltcd by COUMCI in connection with thc ncgotiatioll and preparation ofthi! Agnx;mcnt. No provi.~ua
of this Agrccmcnt may be intcrpn.'tcd qainst any Party bccalL'IC such Party or its OOUIIICI drat\cd the
provillion. llcadings u9Cd in dWI Agreement an: provided fer convenience only, and will not be ;..., JAdl:d
lCl have indcpcndcnt meaning or to modify any proYisioa ofthis Agnxmcnl 'fbc word ..including" and ils
derivatives an: UICd in an illwitrativc scmc aad aut in a limilins IICIISC. As USICd hc:n:in. cxc:cpt u 1bc: conll:Xt
odJc:rwisc indicates.. the singular shall include the plural and vice vcna and words of any gender- !!hall
include any other gender. lbc conjunction ..or" shaU be undersrood in i~ inclmivc sense (IIIUVor).

                  (c)     Ljmjtatioqs up Transfq. "Ibis Agn:c:mcnt may not he assigned, delegated or
othcrwisc b'anSfcrrcd, in whole or in pert. by any Party. by opeqtkln of law or odlawi»c. without the prior
written conllCllt of the non-tratifurring Party. Subject to dtc foregoing. this As,,:ancnt shall be binding




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upoo and shall ill~ co the benefit of all Parties and their rcspec:tivo, lk:irs. legatees, administrators.
pennittcd I\ICCCSSOl'S and pcrmidcd usiP',

                 (t)     'JJ)iyd Party Rial,t,. A per9011 who is not a Party to this Agieement shall not
huve any rights under or in connectim with it by virtlle or the Contracts (Rights of Third Parties) Act
1999 or otherwise excepl where such rights an, expessly granted under this Agreement. The riahts of
the Parties to terminate. rescind or agr-ee to any variation, waiver or settlement Wider this Agreement
is not subject to the consent of any person or emity that is not a Party to this Agreement.

                 {g)     Biodia& Effect. 'Ibis Agreement is binding upon and shall inLR to the benefit of
the Parties and each oftheir Rdcascd Penoni.

         14.     ~ All notices given undtt this Agreement !iball be in writing. and shall he delivered
by persona) delivery er ovcroigbt courier 111 the addn:ucs listed below. If nolice is given by pcnonaJ
dclivay, notice shall be dccmcd given 011 dclivay; if notice is sent by an express courier aavk:c, nodcic
shall 1M: cb.-mcd given on the third day following delivery of nolicc lo the express courier sc1Via, with
inserucuons ftr cxpreiis delivery. If Ill)' noricc is dclivcn:d 10 any party in • manner dllt docs not comply
with this Section 14, such nodcc will be dc:emcd dcliYCl'Cd oa me date. if any, such notice is received by
the Olbcr party. Arry Party may change its address by giving notice to the other Parties in aay mmmcr ,ct
forth above.

                (a)      ifto Qarar. lhc:n to:

                         Emha"'Y nf Qa"'r
                         25SSMSll1:d,NW
                         Washington, OC 20037

                         Witli a copy to:

                         Rrucc S. WilllOO. Esq.
                         Covington &. Burling U.P
                         ISO Tenlb Stred, NW
                         Washington, DC 20001

                (b)      ifto Allalwn, then to:

                         Craig Engle, F.sq.
                         An:nt Pox u.P
                         1717 K Scrccc. NW
                         Washington, DC 20006

          IS.     IAltiry Aa........t. lbis Agn:.:rmcrll sts forth dK: c:nlin, agreement bctWCCIJ the Parties
rcganling lbe subject matter of this ABJCCIIICDI and !1Uf1C19Cdcs all otbcr prior and conlcmporancom oral
and wrinal agrcancnts, discussions, Mid understanding, o( the .-rtics pcr1ainina to the !lllbjcd malk.-r
hc:tcof. Hach of the Parties acknowlcdp and agn.-cs CNI It has not cntcrcd into thi11 Agrccmcnl in reliance
oo any s1atcmall or rcprcscnration of any pcr300 (whedacr a part)' tn this Agrocmcrit or not) other than as
"'-xprcssly incolpontcd in this Agrccmcot.



                                (Slgnatrru Appear o,, /he Fnlluwlng Page)


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DRelease
   I ofClaims to be^^iRKOF.
                    duly executed
                                theasParties have caused
                                      ofthe nflective    thisConfidendal Scnlcmeni A^ccmcnt and
                                                      Date.
 THE EMBASSY OF THE STATE OF QATAR                          BLUEPORT PUBLIC RCLATiONS
 By:                                                        By:
 Name:
                                                            Name:
 Tide:
                                                            Title:
 JOSEPH ALLAHAM                                             LAUREN ALLAHAM
                                                                     'iMAAA
 Subscribed and Stivofir                                    Subscribed and S
 bcftjTc me this                 day                        before me this          "HI day
of\>-aiMb(r .;^\V                                           of l>               •    r
at                            . ki^
                                                        at
      D/ViO
Notary PiAbc                                            Nolaiy Publi
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     lUI'-. I'i                       )                                     MOJIICA Vfi.H
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                                                                               NO 0Wfir,J4R.r,i
LEXINGTON STRATEGIES, LLC                                                TuOiiif'i m Oueein; County
                                                                     My ConvniBsiiJii i npiteA 'j-p iv.
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                  I   -
Name:             .\7«;c./h               iLiz^
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Subject to the continuing compliance by the Allaham Putica with their obliptioas in this Agn:cmc:nt and
any limitatioas on die rcimbur,cmmt of apcn9:s for wilnCSlcS in applicable law, the Putics laavc agreed
the schedule of pa)'llkSlls and rdcotioo lJf amounts previously ,-id, u set forth below i.n ~ 1 uf lhl:
Sculcmcnt Amount.

Mr. Allaham sbaJI submit an invoia: to Qidar oo or bdorc November 30th in each year in which an
installment peymcot ill dll(! (!ICC Nos. 2, 3. 4 and Sin the table below). Qar shall send the inlllallmcnl
amount to its coumcl not less 1han 30 days in advance of each such i-ymcnt due: dale (see Nos. 2. 3, 4 and
Sin the lllble below}.

 I.       lnilial v#k:mcnt Payment. ID be paid to Mr. Allabam not USDSl,150,000 (oac: million
          la1a' dalD futc (5) bu.odncla days following the execution of one hundred fifty thouand
          this ScUlc:mcnt Agn:cmcnt. ~ to the prior 81tisfactioo dnllanl avm)
          of the condition pnudc:nt lid filrtb in clau!c 9(c)(i) bcn:of

 2.       To be paid to Mr. Allabam oo or bcfcrc December 31,          USDSI00,000 (one hundred
          2019                                                         thousand dollars cvc:n)

 3.       To he paid 10 Mr. Allaham on or bcfon: December 31,          USDSI00,000 (one bundn:d
          2020                                                         thousand dollars even)

 4.       To be paid to Mr. Allaham on or bdon; f}ca:mbcr 31.          USJ>SI00,000 (one bundn:d
          2021                                                         thousand dollars L'VCl'I)

 !i.      To be paid to Mr. Allaluml un or before Oc:canbcr 31,         USDS 100,000 (one bundn:d
          2022                                                          lhousand dollars even)

 6.       Previously paid; receipt acknowledged by Mr. Allabam         USDSl,200,000 (one millioo
          and all claims for refund.-! released                        two hundred thousand dollars
                                                                       i:vcn)

 7.       Pr~iou~ paid; receipt acknowledi,:d by Mr. J\llabam           USDSl,4SO,OOO (one million
          and all claima for refunds rcfeasal, subject to payment by    four hundrc:d fifty lhoasand
          Mr. AJlabam within Im (10) days following lhc dale            dollars even)
          hereof the Oubtanding Expenses u Conh:mplatcd in
          Section SC•) hc:rcof



                     TOTAL SETTI..EMENT CONSIDERATION USDS4,2N.IIO (fo..- million
                                                      two hundrc:d thousaod dollars
                                                                        CM:n)




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